44 F.3d 1032
    310 U.S.App.D.C. 143
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of America, Appellee,v.Terence SWEENEY, Appellant.
    No. 94-3129.
    United States Court of Appeals, District of Columbia Circuit.
    Dec. 14, 1994.
    
      Before BUCKLEY, GINSBURG, and SENTELLE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs and oral arguments of counsel.  After full review of the case, the court is satisfied that appropriate disposition of the appeal does not warrant an opinion.  See D.C.Cir.R. 36(b).
    
    
      2
      For substantially the reasons set forth in its Memorandum Order dated July 25, 1994, in United States v. Dale, it is
    
    
      3
      ORDERED AND ADJUDGED by the court that the district court's order resentencing appellant be affirmed.
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 41.
    
    